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Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
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 D   Individual appearing without attorney
 l8j Attorney for: JEFFREY SCOTT BEIER

                                               UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
                                                      Santa Ana Division
 In re:                                                           CASE NO.: 8:23-bk-10898-TA
JEFFREY SCOTT BEIER                                                          CHAPTER: 11

                                                                                 NOTICE OF MOTION AND MOTION IN
                                                                             INDIVIDUAL CHAPTER 11 CASE FOR ORDER
                                                                             AUTHORIZING DEBTOR IN POSSESSION TO
                                                                             EMPLOY GENERAL BANKRUPTCY COUNSEL
                                                                                 [11 U.S.C. § 327(a), LBR 2014-1]; and
                                                                             181 TO FILE INTERIM FEE APPLICATIONS
                                                                                 USING PROCEDURE IN LBR 9013-1(0)

                                                                             This motion is being made under ONLY ONE of the
                                                                             following notice procedures:
                                                                             � No hearing unless requested under LBR 9013-1(0)(4); or
                                                                             D Hearing set on regular notice: LBR 9013-1(d):

                                                                             DATE:
                                                                             TIME:
                                                                             COURTROOM:
                                                                             ADDRESS:


                                                               Debtor(s).


PLEASE TAKE NOTICE THAT the Debtor in Possession (the Debtor) requests an order authorizing the Debtor to employ
general bankruptcy counsel and, if requested in this motion, to file interim fee applications using the procedures set forth
in LBR 9013-1(0).

Your rights might be affected by this Motion. You may want to consult an attorney. Refer to the box checked below for
the deadline to file and serve a written response. If you fail to timely file and serve a written response, the court may treat
such failure as a waiver of your right to oppose the Motion and may grant the requested relief. You must serve a copy of

            This fonn is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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